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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

SECURITIES AND EXCHANGE
COMMISSION.

              Plaintiff,                             Case No. 1:21-cv-11125-LAK
       v.

MEDALLION FINANCIAL CORP, et al.,

              Defendants.


            MOTION TO WITHDRAW APPEARANCE OF RANDY M. MASTRO

        Pursuant to Local Rule 1.4, Defendants Medallion Financial Corp. and Andrew Murstein

 (collectively, “Defendants”), by undersigned counsel, hereby move this Court for leave to allow

 the withdrawal of appearance of Randy M. Mastro as counsel for Defendants in the above-

 captioned action. Withdrawal is necessary because Mr. Mastro will no longer be at King &

 Spalding LLP after March 31, 2025. In connection with the withdrawal, the clerk is requested to

 remove the name of Randy M. Mastro from the CM/ECF service list for this matter.

        Mark Kirsch at King & Spalding LLP will continue to serve as counsel for Defendants in

 the above-captioned matter. Mr. Mastro’s withdrawal will not occasion a request for an

 extension of any deadlines. Mr. Mastro is not asserting a retaining or charging lien in connection

 with his departure.

Dated: March 28, 2025                       By:     /s/ Randy M. Mastro
                                                    Randy M. Mastro
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                                                    KING & SPALDING LLP
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                                                    Attorneys for Defendants Medallion Financial
                                                    Corp. and Andrew Murstein
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 28th day of March 2025, I caused the foregoing to be served on

all counsel of record by ECF and on Defendants Medallion Financial Corp. and Andrew

Murstein by email.

                                             /s/ Randy M. Mastro
                                             Randy M. Mastro
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                                             New York, New York 10036
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